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                    1      GORDON & SILVER, LTD.
                           GREGORY E. GARMAN, ESQ.
                                                                                      E-Filed On     3/aiA
                    2      Nevada Bar No. 6654
                           E-mail: ggarman@gordonsilver.com
                    3
                           MATTHEW C. ZIRZOW, ESQ.
                    4      Nevada Bar No. 7222
                           E-mail: mcz@gordonsilver.com
                    5      3960 Howard Hughes Pkw    y., 9th Floor
                           Las Vegas, Nevada 89169
                    6      Telephone (702) 796-5555
                           Facsimile (702) 369-2666
                    7
                           Attorneys for Fertitta Enterprises, Inc.
                    8

                    9                                     UNITED STATES BANKRUPTCY COURT

                   10                                       FOR THE DISTRICT OF NEVADA

                   11      In re:                                            Case No.: BK-S-08-10474-MKN
                                                                             Chapter 11
                   12      XYIENCE, INCORPORATED,
                           a Nevada corporation,
                   13
                                             Debtor.
                   14
                   15      XYIENCE INCORPORATED,                             Adversary No. 08-1082-MKN
                           a Nevada corporation,
                   16
                                             Plaintiff,
                   17
                   18      v.

                   19      RICHARD BERGERON, an individual,

                  20                         Defendant.
                   21      RICHARD BERGERON, an individual,                   MOTION OF COUNTERDEFENDANT
                   22                                                         FERTITTA ENTERPRISES, INC. TO
                                             Counterclaimant,                 DISMISS ADVERSARY PROCEEDING
                   23
                           v.
                   24
                           XYIENCE INCORPORATED, a Nevada
                   25
                           corporation; FERTITTA ENTERPRISES,
                   26      INC., a Nevada corporation,
                                                                              Date: April 30, 2008
                   27                        Counterdefendants.               Time: 9:30 a.m.

                   28
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 LAS VEGAS, NEVADA 89169
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                       1            Counterdefendant, Fertitta Enterprises, Inc., a Nevada corporation ("Fertitta

                       2   Enterprises"), by and through its counsel, the law firm of Gordon & Silver, Ltd., hereby submits

                       3   its Motion to Dismiss Adversary Proceeding (the "Motion") in the above-referenced adversary

                       4   proceeding.

                       5            This Motion is made and based on Rule 12(b)(6) of the Federal Rules of Civil Procedure

                       6   (the "Rules"), made applicable to this adversary proceeding pursuant to Rule 7012(b) of the

                       7   Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), for "failure to state a claim

                       8   upon which relief can be granted." The Motion is further based on the points and authorities

                       9   which follow, any papers or pleadings contained in this Court's file, judicial notice of which is

                      10   hereby requested, and any arguments entertained at the time of the hearing on this matter.

                      11                                      POINTS AND AUTHORITIES

                      12                                                     I.
                                                                STATEMENT OF FACTS
                      13
                                    1.        On July 18, 2007, Xyience Incorporated, a Nevada corporation ("Xyience"), now
                      14
                           currently a debtor and debtor-in-possession in the above-captioned bankruptcy case, filed its
                      15
                           Complaint (the "Complaint") against Rich Bergeron ("Bergeron") in the Eighth Judicial District
                      16
                           Court, Clark County, Nevada (the "State Court"), being Case No. A544781 (the "Litigation").
                      17
                           Xyience was the only plaintiff in the Complaint, and Bergeron was the only defendant in the
                      18
                           Complaint. See Adversary Docket No. 3, Ex. 2
                      19
                                    2.        Also on July 18, 2007, Xyience first filed its Motion for Preliminary Injunction
                      20
                           (the "Preliminary Injunction Motion") against Bergeron in the Litigation seeking to restrain and
                      21
                           enjoin him from posting allegedly defamatory remarks on the internet concerning Xyience and to
                      22
                           remove certain allegedly false and defamatory articles on Bergeron's website. Xyience refiled
                      23
                           its Preliminary Injunction Motion on August 3, 2007, and later supplemented it on August 17,
                      24
                           2007. See id. at Exs. 3, 8 and 12.
                      25
                                    3.        On August 19, 2007, Bergeron, who has represented himself pro se throughout
                      26
                           the Litigation, filed his Opposition to Motion for Preliminary Injunction. See id. at Ex. 13.
                      27
                                    4.        On August 22, 2007, Xyience filed its Reply in Support of its Motion for
                      28
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                       1   Preliminary Injunction in the Litigation. See id. at Ex. 14.

                       2            5.        On September 6, 2007, the State Court issued its Preliminary Injunction Order

                       3   (the "Preliminary Injunction Order"), which granted Xyience a preliminary injunction against

                       4   Bergeron and ordered him to remove "all articles or postings regarding false claims about

                       5   Xyience from the internet and [Bergeron] shall be enjoined from communicating any statements

                       6   or making any representations which in any manner state, advise, represent, assert, allege,

                       7   suggest, or imply, in any manner which is intended to, or does evoke an inference or create

                       8   impression that Xyience is being investigated by the SEC." See id. at Ex. 18. The Preliminary

                       9   Injunction Order further ordered that Bergeron "shall remove any and all articles claiming that

                      10   Xyience is defrauding investors and/or is conspiring with Dana White or the Ultimate Fighting

                      11   Challenge to defraud investors." The Preliminary Injunction Order further ordered that Bergeron

                      12   "shall be enjoined from communicating any statements or making any representations which in

                      13   any manner state, advise, represent, asset, allege, suggest or imply in any manner which is

                      14   intended to, or does evoke an inference or create impression that Xyience is defrauding investors

                      15   and/or conspiring with Dana White or the Ultimate Fighting Challenge to defraud investors."

                      16            6.        On September 26, 2007, Xyience filed its Motion to Modify Preliminary

                      17   Injunction Order in the Litigation, which apparently was unopposed by Bergeron. See id. at Ex.

                      18   22.

                      19            7.        On November 6, 2007, the State Court entered its Modified Preliminary

                      20   Injunction Order in the Litigation. See id. at Ex. 28.

                      21            8.        On January 3, 2008, an Involuntary Petition under Chapter 11 of the Bankruptcy

                      22   Code was filed against Xyience, being Case No. BK-S-08-10049-MKN, in the U.S. Bankruptcy

                      23   Court for the District of Nevada.

                      24            9.        On January 22, 2008, Xyience filed its Voluntary Petition under Chapter 11 of the

                      25   Bankruptcy Code, being Case No. BK-S-08-10474-MKN, thereby commencing the above-

                      26   captioned bankruptcy case.

                      27            10.       On February 19, 2008, Bergeron filed his Answer to Complaint and Counterclaim

                      28   for Declamatory Relief [sic] (the "Counterclaim") in the Litigation. See id. at Ex. 50. In
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                       1   addition to asserting counterclaims against Xyience, 1 Bergeron also asserted the same

                       2   counterclaims against Fertitta Enterprises, thereby joining Fertitta Enterprises for the first time as

                       3   a party to the Litigation.2

                       4            11.      Prior to being joined in by Bergeron as a counterdefendant in the Litigation,

                       5   Fertitta Enterprises never made any appearance or filed any papers or pleadings in the Litigation.

                       6   See id. at Ex. 1 (docket), and Exs. 2-49. Moreover, since being joined in by Bergeron as a

                       7   counterdefendant in the Litigation, Fertitta Enterprises has not filed any papers or pleadings in

                       8   the Litigation except for this Motion. See id. at Ex. 1 (docket), and Exs. 51-71.

                       9            12.       On March 20, 2008, Xyience removed the Litigation to Bankruptcy Court where

                      10   the case now remains pending as the above-captioned adversary proceeding. See Adversary

                      11   Docket No. 1.

                      12
                                                                 LEGAL AUTHORITY
                      13
                           A.       Legal Standard On A Motion To Dismiss.
                      14
                                    A Rule 12(b)(6) dismissal must be granted where there is either "no cognizable legal
                      15
                           theory or an absence of sufficient facts alleged to support a cognizable legal theory." Siaperas v.
                      16
                           Montana State Comp. Ins. Fund, 480 F.3d 1001, 1003 (9 th Cir. 2007) (citing Balistreri v. Pacifica
                      17
                           Police Dept., 901 F.2d 696, 699 (9th Cir. 1990)).
                      18
                                    In resolving a Rule 12(b)(6) motion, the Court must: (1) construe the complaint in the
                      19
                           light most favorable to the plaintiff; (2) accept all well-pleaded factual allegations as true, as well
                      20
                           as reasonable inferences to be drawn from them; and (3) determine whether the plaintiff can
                      21
                      22
                             Bergeron's filing of counterclaims against Xyience during the pendency of its bankruptcy case
                      23   was a clear and knowing violation of the automatic stay pursuant to Section 362 of the
                             Bankruptcy Code.
                           2
                      24     Bergeron has never properly served his Counterclaim on Fertitta Enterprises. Specifically,
                           Bergeron's Counterclaim had a Proof of Service attached to it, which claimed that the
                      25   Counterclaim had been hand delivered to Fertitta Enterprises as of February 19, 2008, but the
                           Proof of Service was not executed. On February 21, 2008, Bergeron filed a separate Certificate
                      26
                           of Mailing for the Counterclaim, which indicated that he had mailed the Counterclaim via
                      27   regular mail to Fertitta Enterprises. Bergeron never hand delivered the Counterclaim to Fertitta
                           Enterprises and service of the Counterclaim via regular mail was ineffective pursuant to NRCP 4
                      28   and 5, and NRS §§ 14.020(2) and 78.090(4).
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                       1   prove any set of facts to support a claim that would merit relief. See Cahill v. Liberty Mut. Ins.

                      2    Co., 80 F.3d 336, 337-338 (9th Cir. 1996).
                       3           "While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed

                       4   factual allegations, a plaintiffs obligation to provide the 'grounds of his `entitle[ment] to relief

                       5   requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

                       6   of action will not do . . . . Factual allegations must be enough to raise a right to relief above the

                       7   speculative level, on the assumption that all the allegations in the complaint are true (even if

                       8   doubtful in fact)." Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1965 (2007) (internal

                       9   citations omitted). To avoid a Rule 12(b)(6) dismissal, a complaint must plead "enough facts to

                      10   state a claim to relief that is plausible on its face" and that "[b]ecause the plaintiffs here have not

                      11   nudged their claims across the line from conceivable to plausible, their complaint must be

                      12   dismissed." Id. at 1974.

                      13           The court need not accept as true allegations that contradict facts which may be judicially

                      14   noticed by the court. See Mullis v. United States Bank. Ct., 828 F.2d 1385, 1388 (9th Cir. 1987).

                      15   For example, the court may properly consider matters of public record such as pleadings, orders

                      16   and other papers on file, as long as the facts noticed are not subject to reasonable dispute, in a

                      17   motion to dismiss. See Intri-Plex Techs., Inc. v. Crest Group, Inc., 499 F.3d 1048, 1052 (9th Cir.

                      18   2007); MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9 th Cir. 1986).

                      19           In the case at hand, Bergeron's Counterclaim against Fertitta Enterprises raises the

                      20   following four counterclaims for relief: (1) defamation, (2) violation of first amendment rights,

                      21   (3) tortious interference with prospective economic advantage, and (4) pain and suffering. Each

                      22   of these claims must be dismissed as more fully set forth below.

                      23   B.      First Counterclaim: Defamation.

                      24           Bergeron's first counterclaim alleges that he has been defamed in pleadings filed by
                      25   Xyience in the Litigation, see Counterclaim, In 30 and 32, and that he has been defamed "in
                      26   bogus blogs produced about him and connected directly to Xyience employees and/or associates
                      27   through IP addresses." Id. at 1131.
                      28
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                       1           1.        No Facts Pled Against Fertitta Enterprises.
                       2           As an initial matter, the Counterclaim makes no allegation that Fertitta Enterprises took

                       3   part in any of the alleged defamatory statements; rather, the Counterclaim only makes such

                       4   allegations against Xyience and/or its employees. See Counterclaim, ¶ 30 ("There was never any

                       5   factual basis for Xyience to claim . . ."); 31 (referencing blogs "connected to Xyience

                       6   employees and/or associates"); 32 (referencing the actions of only a "Xyience representative")

                       7   (emphases added). As such, any alleged defamation claim against Fertitta Enterprises must be

                       8   dismissed because the Counterclaim lacks any facts pled to support such a claim against Fertitta

                       9   Enterprises. 3 Even if the Counterclaim could ever be read to include a defamation claim against

                   10      Fertitta Enterprises, such claims must be dismissed as set forth below.

                   11              2.        Claims Allegedly Arising From Statements Made In The Litigation.

                   12              To the extent Bergeron's defamation counterclaim against Fertitta Enterprises arises out

                   13      of any pleadings or papers filed in the Litigation, such claims must be dismissed for several

                   14      reasons. First, as previously noted, Fertitta Enterprises was not even a party or in any way

                   15      involved in the Litigation until Bergeron joined them as an additional counterdefendant in his

                   16      Counterclaim filed on February 19, 2008. Prior to being dragged in by Bergeron in his

                   17      Counterclaim, Fertitta Enterprises was not a party to the Litigation and did not submit any papers

                   18      or pleadings in support of anything, including but not limited to Xyience's original Complaint or

                   19      Preliminary Injunction Motion. In fact, this Motion is the first pleading Fertitta Enterprises has

                   20      ever filed in this Litigation. As such, to the extent any liability could ever result from the filings

                   21      in the Litigation, it is clear that Fertitta Enterprises took no part in those matters.

                   22               Second, even if Fertitta Enterprises did take any part in the Litigation prior to Bergeron's

                   23      filing of his Counterclaim, which Bergeron has never alleged, the litigation privilege provides

                   24

                   25      3 Moreover, because defamation is an intentional tort, it would be outside the scope of any
                           employee's employment or agent's agency, and thus something for which the individual would
                   26      be personally liable, not Fertitta Enterprises. See, e.g., Rockwell v. Sun Harbor Budget Suites,
                           925 P.2d 1175, 1179 (Nev. 1996); Prell Hotel Corp. v. Antonacci, 469 P.2d 399, 400 (Nev.
                   27      1970). In this regard, the Counterclaim fails to plead any specific facts to establish respondeat
                   28      superior liability of Fertitta Enterprises for any such alleged acts anyway.
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                       1   absolute immunity against defamation claims that are based on communications uttered or

                      2    published in the course of judicial proceedings. See Fink v. Oshins, 49 P.3d 640, 643-44 (Nev.

                       3   2002); Circus Circus Hotels v. Witherspoon, 657 P.2d 101, 104 (Nev. 1983); In re Davis, 312

                      4    B.R. 681, 689-90 (Bankr. D. Nev. 2004). As such, to the extent any of Bergeron's allegations

                       5   are based on any statements made by Fertitta Enterprises in connection with the Litigation, such

                       6   claims are privileged in any event.

                       7            3.       Claims Allegedly Arising From Anonymous Opinions Posted On Blogs.

                       8            To the extent Bergeron's defamation counterclaim against Fertitta Enterprises arises out

                       9   of the alleged anonymous postings on unidentified blogs, such claims also must be dismissed. A

                      10   blog (a portmanteau of web log) is an interactive website that provides a forum for users to

                      11   provide commentary and discussion on a particular subject. Users can post comments on a blog

                      12   under assumed names and/or anonymously.

                      13            Defamation requires "publication of a false statement of fact." Pegasus v. Reno

                      14   Newspapers, Inc., 57 P.3d 82, 87 (Nev. 2002) (citing Posadas v. City of Reno, 851 P.2d 438, 442

                      15   (Nev. 1993)). "Statements of opinion cannot be defamatory because 'there is no such thing as a

                      16   false idea. However pernicious an opinion may seem, we depend for its correction not on the

                      17   conscience of judges and juries but on the competition of other ideas.'" Pegasus, 57 P.3d at 87

                      18   (Gertz v. Robert Welch, Inc., 418 U.S. 323, 339-40 (1974)).

                      19            In the specific context of blogs, courts recognize that internet sources by their nature are

                      20   inherently unreliable, and are for the expression of opinions, not facts. See SPX Corp. v. Doe,

                      21   253 F. Supp. 2d 974, 981 (N.D. Ohio 2003) (granting motion to dismiss defamation claim and

                      22   stating that "[s]uch message boards are accessible to anyone of the tens of millions of people in

                      23   this country (and more abroad) with Internet access, and no one exerts control over the content.

                      24   Pseudonym screen names are the norm. A reasonable reader would not view the blanket,

                      25   unexplained statements at issue as 'facts' when placed on such an open and uncontrolled

                      26   forum."); Global Telemedia Intern., Inc. v. Doe 1, 132 F. Supp. 2d 1261, 1267 (C.D. Cal. 2001)

                      27   (granting SLAPP motion to dismiss defamation claims and stating that "[h]ere, the general tenor,

                      28   the setting and the format of both [poster's] statements strongly suggest that the postings are
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                           opinion. The statements were posted anonymously in the general cacophony of an Internet chat-

                           room in which about 1,000 messages a week are posted about GTMI. The postings at issue were

                           anonymous as are all the other postings in the chat-room. They were part of an on-going, free-

                           wheeling and highly animated exchange about GTMI and its turbulent history. At least several

                           participants in addition to Defendants were repeat posters, indicating that the posters were just

                           random individual investors interested in exchanging their views with other investors.

                           Importantly, the postings are full of hyperbole, invective, short-hand phrases and language not

                           generally found in fact-based documents, such as corporate press releases or SEC filings. . . . To
                           put it mildly, these postings, as well as the others presented to the Court, lack the formality and
                           polish typically found in documents in which a reader would expect to find facts. . . . In short,

                           the general tone and context of these messages strongly suggest that they are the opinions of the

                           posters. In addition, the content and style of the individual postings support a finding that they

                           are the opinions of the posters."); Penn Warranty Corp. v. DiGiovanni, 810 N.Y.S.2d 807, 815
                           (N.Y. Sup. Ct. 2005) (granting summary judgment dismissing defamation claims allegedly

                           arising from internet postings as opinions); see also Doe v. Cahill, 884 A.2d 451, 465 (Del.

                           2005) ("Blogs and chat rooms tend to be vehicles for the expression of opinions; by their very

                           nature, they are not a source of facts or data upon which a reasonable person would rely.");

                           DiMeo v. Max, 433 F. Supp. 2d 523, 531 n.14 (E.D. Pa. 2006) ("After viewing the
                           tuckermax.com message boards, which are read by people using screen names like `Jerkoff,'
                           `Drunken DJ,' and lootinmouth,' the intended audience could not mistake the site for the New

                           York Times. In short, it palpably is not serious.").
                                    As such, and in addition to the fact that Bergeron never even alleges that any of the

                           anonymous blog postings about him were attributable to Fertitta Enterprises, any such postings
                           are merely expressions of opinion, not fact, and thus are not actionable defamation claims.
                           C.       Second Counterclaim: "Violation Of First Amendment Rights."

                                    Bergeron's second counterclaim alleges a violation of his First Amendment rights, which,

                           presumably, is a claim for a civil rights action under 42 U.S.C. § 1983. See Counterclaim, pp. 8-

                           9.
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                       1            Section 1983 provides, in pertinent part, as follows:

                      2                      Every person who, under color of any statute, ordinance,
                                             regulation, custom, or usage, of any State or Territory or the
                       3                     District of Columbia, subjects, or causes to be subjected, any
                                             citizen of the United States or other person within the jurisdiction
                       4
                                             thereof to the deprivation of any rights, privileges, or immunities
                       5                     secured by the Constitution and laws, shall be liable to the party
                                             injured in an action at law, suit in equity, or other proper
                       6                     proceeding for redress, except that in any action brought against a
                                             judicial officer for an act or omission taken in such officer's
                       7                     judicial capacity, injunctive relief shall not be granted unless a
                                             declaratory injunction was violated or declaratory relief was
                       8
                                             unavailable.
                       9
                           42 U.S.C. § 1983 (emphasis added).
                      10
                                    An action pursuant to Section 1983 provides a means of redress to individuals who have
                      11
                           been deprived of federal constitutional or federal statutory rights by persons acting under color of
                      12
                           state law. See West v. Atkins, 487 U.S. 42, 48 (1988). Section 1983 does not create any
                      13
                           substantive rights, but is instead a vehicle by which plaintiffs can bring federal constitutional and
                      14
                           statutory challenges to actions by state and local officials. See Cholla Ready Mix, Inc. v. Civish,
                      15
                           382 F.3d 969, 978 (9th Cir. 2004). Violation of state law does not give rise to a claim under
                      16
                           Section 1983; rather, only violations of rights or privileges created by the U.S. Constitution or
                      17
                           federal law. See Moreland v. Las Vegas Metro. Police Dep't, 159 F.3d 365, 373-74 (9th Cir.
                      18
                           1998).
                      19
                                    To sustain an action under Section 1983, a plaintiff must show: (1) that the conduct
                      20
                           complained of was committed by a person acting under color of state law; and (2) that the
                      21
                           conduct deprived the plaintiff of a constitutional right. See Balistreri v. Pacifica Police Dept.,
                      22
                           901 F.2d 696, 699         (9th   Cir. 1990) (citing Rinker v. Napa County, 831 F.2d 829, 831 (9th Cir.
                      23
                           1987)); see also Butler v. Bayer, 168 P.3d 1055, 1061 (Nev. 2007) (discussing requirement of
                      24
                           state action); Boulder City v. Cinnamon Hills Assocs., 871 P.2d 320, 324-25 (Nev. 1994).
                      25
                                    In the case at hand, Fertitta Enterprises is a private party, and private parties generally do
                      26
                           not act under color of state law. See Price v. Hawaii, 939 F.2d 702, 707-08 (9th Cir. 1991).
                      27
                           Under certain limited circumstances, however, private persons can be acting under color of law
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                       1   for Section 1983 purposes if engaged jointly with state officials with respect to a challenged

                       2   action. See Dennis v. Sparks, 449 U.S. 24, 28 (1980). In the case at hand, the only state action

                       3   apparently claimed by Bergeron is the use of the courts to bring the Complaint and the

                       4   Preliminary Injunction Motion.

                       5            "Of course, 'merely resorting to the courts and being on the winning side of a lawsuit

                       6   does not make a private party a joint actor with the judge." Schucker v. Rockwood, 846 F.2d

                       7   1202, 1205 (9th Cir. 1988) (quoting Dennis, 449 U.S. at 28)). "Invoking state legal procedures

                       8   does not constitute 'joint participation' or 'conspiracy' with state officials sufficient to satisfy
                       9   section 1983's state action requirement." Id. (citing Lugar v. Edmondson Oil Co., 457 U.S. 922,

                   10      939 n.21 (1982)); see also Copple v. Astrella & Rice, P.C., 442 F. Supp. 2d 829, 837 (N.D. Cal.

                   11      2006); Thomason v. Norman E. Lehrer, P.C., 182 F.R.D. 121, 128-29 (D.N.J. 1998).

                   12               In the case at hand, Fertitta Enterprises was not a party to and had no involvement in the

                   13      Litigation until Bergeron included it as an additional counterdefendant in his Counterclaim. As

                   14      such, Fertitta Enterprises had no involvement in either instituting the Litigation or obtaining the

                   15      Preliminary Injunction Order against Bergeron. Moreover, even if Fertitta Enterprises did have

                   16      any involvement in the Litigation, which has never even been alleged, it is a private party merely

                   17      invoking legal procedures, and thus any such claim lacks the necessary state action for a claim

                   18      under Section 1983. As such, Bergeron's second counterclaim for violation of his First

                   19      Amendment rights must be dismissed because it does not allege a cognizable legal theory.4

                   20      D.       Third Counterclaim: Tortious Interference With Prospective Economic Advantage.

                   21               Bergeron's third counterclaim alleges "tortuous" [sic] interference with prospective
                   22      economic advantage. See Counterclaim, pp. 9-10.
                   23               Liability for the tort of intentional interference with prospective economic advantage
                   24      requires proof of the following elements:
                   25                         1.     A prospective contractual relationship between the plaintiff
                   26      4
                             In fact, Bergeron's Section 1983 action against Fertitta Enterprises is so meritless and frivolous
                   27      that Fertitta Enterprises should be awarded its attorneys' fees in having to defend this matter
                           pursuant to 42 U.S.C. § 1988(b). See Cuzze v. University and Cmty. College Sys. of Nev., 172
                   28      P.3d 131, 135-36 and n.17 (Nev. 2007) (citing Hughes v. Rowe, 449 U.S. 5, 14 (1980)).
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                       1                     and a third party;

                       2                    2.      Knowledge by the defendant of the prospective
                                            relationship;
                       3
                                             3.     Intent to harm the plaintiff by preventing the relationship;
                       4

                       5                     4.      The absence of privilege or justification by the defendant;
                                             and
                       6
                                             5.     Actual harm to the plaintiff as a result of the defendant's
                       7                     conduct.

                       8   Wichinsky v. Mosa, 847 P.2d 727, 730 (Nev. 1993) (citing Leavitt v. Leisure Sports, Inc., 734
                       9   P.2d 1221, 1225 (1987)).
                      10           "At the heart of [an intentional interference] action is whether Plaintiff has proved
                      11   intentional acts by Defendant intended or designed to disrupt Plaintiff's contractual relations. . .
                      12   ." Lake at Las Vegas Investors Group, Inc. v. Pacific Malibu Dev. Corp., 867 F. Supp. 920, 925
                      13   (D. Nev. 1994) (quoting National Right to Life P.A. Com. v. Friends of Bryan, 741 F. Supp. 807,
                      14   814 (D. Nev. 1990)).
                      15           In the case at hand, Bergeron claims that the interference inflicted upon him is the filing
                      16   of the Litigation and his having to defend himself in the Litigation. See Counterclaim, 45. As
                      17   noted previously herein, Fertitta Enterprises was never a party to the Litigation until Bergeron
                      18   himself joined it as an additional counterdefendant in his Counterclaim filed on February 19,
                      19   2008. Moreover, the only action Fertitta Enterprises has taken in this case to date is the filing of
                      20   the instant Motion. 5 As such, it is clear that Fertitta Enterprises could never have had any intent
                      21   to do anything to Bergeron in the Litigation, or, in fact, caused any harm to him in the Litigation.
                      22   As such, Bergeron's counterclaim for intentional interference with prospective economic
                      23   advantage against Fertitta Enterprises is simply not plausible, and thus must be dismissed.
                      24   E.      Fourth Counterclaim: "Pain and Suffering."

                      25           Bergeron's fourth counterclaim alleges "pain and suffering" allegedly resulting from the
                      26   Litigation. See Counterclaim, pp. 10-12. This "claim" must be dismissed because it is not a
                      27   5 One who acts in good faith and by appropriate means in defense of a legally protectable interest
                      28   does not engage in improper interference. See Restatement (Second) Torts, § 773.
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                       1   cognizable legal theory.

                      2             First, "pain and suffering" is not a claim for relief; rather, it is a specific type of damages

                       3   that can be sought if liability based on an underlying claim is established. See, e.g., Paul v.

                      4    Imperial Palace, Inc., 908 P.2d 226, 228-29 (Nev. 1995) (discussing damages sought for future

                       5   pain and suffering arising out of a "slip and fall" negligence action); Banks ex rel. Banks v.

                       6   Sunrise Hosp., 102 P.3d 52, 61-62 (Nev. 2004).

                       7            Federal Rule 8(a), made applicable to this adversary proceeding pursuant to Bankruptcy

                       8   Rule 7008(a), provides, in pertinent part, as follows:

                       9                     (a)    Claim for Relief. A pleading that states a claim for relief
                                             must contain:
                      10
                                                     (2)     a short and plain statement of the claim showing
                      11
                                             that the pleader is entitled to relief; and
                      12
                                                       (3)     a demand for the relief sought, which may included
                      13                      relief in the alternative or different types of relief.

                      14   Fed. R. Civ. P. 8(a) (emphases added). Bergeron has set forth alleged damages in the form of
                      15   "pain and suffering" per Rule 8(a)(3), but has never alleged a cognizable underlying claim to
                      16   support the recovery of such damages per Rule 8(a)(2). As such, Bergeron's fourth counterclaim
                      17   for "pain and suffering" is really not a claim at all, and must be dismissed as a matter of law.
                      18            Second, to the extent Bergeron's counterclaim for "pain and suffering" could ever be
                      19   construed as a cognizable claim for relief, it must be dismissed as to Fertitta Enterprises.
                      20   Xyience originally filed this Litigation against Bergeron, not Fertitta Enterprises. In response,
                      21   Bergeron counterclaimed against Xyience and also dragged in Fertitta Enterprises as an
                      22   additional counterdefendant in his Counterclaim filed on February 19, 2008. Fertitta Enterprises
                      23   was not a party to or involved in any way in the Litigation prior to being named a
                      24   counterdefendant, and thus could have never caused him any pain and suffering in the Litigation.
                      25   As such, Bergeron's counterclaim against Fertitta Enterprises for pain and suffering arising out
                      26   of this Litigation is simply not plausible, and thus must be dismissed as a matter of law.
                      27
                      28
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                       1
                                                                     CONCLUSION
                       2
                                   WHEREFORE, Fertitta Enterprises respectfully requests that the Court grant the Motion
                       3
                           in its entirety, thereby dismissing all of the counterclaims in this matter against it pursuant to
                       4
                           Rule 12(b)(6) for failure to state a claim upon which relief can be granted. Fertitta Enterprises
                       5
                           also requests such other and further relief as is just and proper.
                       6
                                   DATED this ?iklay of March, 2008.
                       7
                                                                          GORDON & SILVER TD.
                       8
                       9
                                                                          By:
                      10                                                     G' GORY E. GA'              , ESQ.
                                                                             MATTHEW C. Z '4f7;1 , ESQ.
                      11                                                     3960 Howard H 'r  es Pkw  y., 9th Floor
                                                                             Las Vegas, Nevada 89169
                      12                                                     Attorneys for Fertitta Enterprises, Inc.
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